Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 1 of 14 PagelD #:350

IN THE UNITED STATES DISTRICT COURT *F ED

THE NORTHERN DISTRICT OF ILLINOI 42 /22 {2022
EASTERN DIVISION 79 N
OMAS.G. URT
JAMES GARNER, ) ore WERE RC
) No. 22 CV 06270
Plaintiff, )
Vv. ) Honorable Franklin U. Valderrama
) U.S. District Judge
STEVEN KIDD, )
THOMAS COSTELLO, et al., ) Susan E. Cox
Defendants, ) Magistrate Judge

PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT BY THE COURT WITH REGARD TO
DEFENDANTS IRIS Y. MA PINAL PATEL, ROSE BISHOP, AND TAMARA FOR
FAILURE TO ANSWER OR OTHERWISE PLEAD

NOW COMES the Plaintiff, James Garner, and respectfully moves this Honorable Court pursuant
to Rule 55(b)(2) of the Federal Rules of Civil Procedure to grant “Plaintiff's Motion For Default
Judgment By The Court With Regard To Defendants Iris Y. Martinez, Pinal Patel, Rose Bishop, And
Tamara For Failure To Answer Or Otherwise Plead” and in support thereof, states as follows:

FACTS

1. On November 8, 2022; Plaintiff filed a Pro Se Federal RICO Lawsuit 22¢v06270 against
Defendants Lynda Segneri(AKA “Lynda Marie COSTELLO”), Thomas Costello, Integrity Investment
Fund,LLC(//F) and others, including accessories and or accomplices, like Defendants Iris Y. Martinez,
Pinal Patel, Rose Bishop, And Tamara, for conspiring to maliciously violate Plaintiff s Constitutional
Rights(as well as State Laws) pursuant to the irrefutable fact that Defendant Thomas Costello, in his_
own words confessed, to the brazen July 3, 2022-theft of Plaintiff's property, on July 6, 2022 and theft
of Plaintiff's lawful possession the white Church building that lawfully belongs to Plaintiff's, property tax_
exempt, “Correct Knowledge Is Power CHURCH of Simplicity = Genius”(CK Church) located at 1050

State Line Road, Calumet City, Illinois 60409.

Page: 1 of 4

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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 2 of 14 PagelD #:351

2. On November 16, 2022; a filed stamped copy of the Civil Complaint(/awsuit 22cv06270)
and Summons was served upon Defendants Iris Y. Martinez, Pinal Patel, Rose Bishop, And Tamara;

(SEE ATTACHED EXHIBIT -#1 - Attached Hereto);

3. On November 16, 2022; The Summons was received in the District Clerk's Office as
returned executed; (SEE Al‘/ACHED EXHIBIT -#2 - Attached Hereto),
DEFENDANTS IRIS Y. MARTINEZ. PINAL PATEL, ROSE BISHO TAMARA MADE A

INSCI TO NOT FILE AN ANSWER OR OTHERWISE PLEAD WITHIN THE
ALLOTTED TIME ALLOWED BY THE LAW

4, Defendants Iris Y. Martinez, Pinal Patel, Rose Bishop, And Tamara knew that they had
21-days from November 16, 2022 to file an Answer or otherwise Plead. Significantly, Defendants Iris Y.
Martinez, Pinal Patel, Rose Bishop, And Tamara had a “due date” of December 7, 2022 to file an
Answer or otherwise Plead. However, they elected to “thumb their noses” at the Federal Rules of Civil
Procedure and the Law. Moreover, Attorney Tiffany Brooks would know to either file an Answer or
otherwise plead on behalf of Defendants in this RICO lawsuit. Apparently, since Brooks is a licensed
Attorney, her conduct after being made aware of this Civil Complaint, clearly indicates she has a mindset
to ignore the Rule of Law, which makes our country great.

DEFENDANTS IRIS Y. MARTINEZ, PINAL PATEL, ROSE BISHOP, AND TAMARA FAILED TO
SEEK AN EXTENSION OF TIME TO RESPOND TO PLAINTIFF’ OMPLAINT

5. Providing the Defendants Iris Y. Martinez, Pinal Patel, Rose Bishop, And or Tamara
believed they needed more time to file an Answer or otherwise Plead, such Defendants could have easily
sought an enlargement of time to do so under Rule 6 of the Federal Rules of Civil Procedure. Once
again, Defendants Iris Y. Martinez, Pinal Patel, Rose Bishop, And or Tamara, did nothing except to

ignore the rules applicable to Federal Civil Procedure and ignore the Law.

PLAINTIFF REQUE H IS COURT ENTER DEFAULT JUD GAINS
DEFENDANTS IRIS Y. MARTINEZ, PINAL PATEL, ROSE BISHOP, AND TAMARA AND SET

Page: 2 of 4
Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 3 of 14 PagelD #:352

THIS MATTER FOR A HEARING ON DAMAGES

6. Plaintiff has clearly established that Defendants Iris Y. Martinez, Pinal Patel, Rose Bishop,
And or Tamara are in Default. This case with respect to Defendants Iris Y. Martinez, Pinal Patel, Rose
Bishop, And or Tamara should be over by their own doing and flouting of the Law that makes our
country great.

LEGAL STANDARD

7. Under the Constitution of the United States, which begins with “WE THE PEOPLE”;
An unconstitutional act is not law; No one is bound to obey an unconstitutional law and no Courts are
bound to enforce it; In our great country, no one is above the law and each Citizen is guaranteed certain

RIGHTS guaranteed under the Constitution of the United States of America.

8. FOURTEENTH Amendment, of the United States of America, clearly states, “...No State
shall make or enforce any Law which shall abridge the privileges or immunities of Citizens of the United
States; Nor shall any State deprive any Person of Life, Liberty, or Property, without Due process of Law;

Nor deny to any Person within its jurisdiction the Equal protection of the Laws...”

9. Rule 55(b)(2) of the Federal Rules of Civil Procedure.

ARGUMENT
10. Poor USA Citizens are easy prey and are clearly betrayed, when Public Servant
Defendants like, Iris Y. Martinez, Pina! Patel, Rose Bishop, And or Tamara, aid and abet ruthless
dangerous educated sophisticated white-collar tax-$ stealing....house and Church stealing criminals like
Defendants Lynda Segneri(AKA “Lynda Marie COSTELLO”) and Thomas Costello;

BECAUSE Thomas Costello clearly, in his own words, admitted to committing multiple crimes(theft,

burglary, extortion, criminal conspiracy, being part of an ongoing criminal Enterprise,etc)....as he

implicated multiple Public Servant accomplices and accessories, including Cook County Judges and

Page: 3 of 4
Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 4 of 14 PagelD #:353

Prosecutors, in a treacherous ongoing real estate racket, that had repeatedly stolen from Plaintiff and
many other poor Illinois property possessing USA Citizens, like Michael Bell and Michelle Kidd, who
also were ripped off by the “racket” and forced to file a December 15, 2022-class action Federal lawsuit

22cv07061 against the very same “Indemnity Fund” regularly looted with impunity, according to

Costello, by a small cabal of corrupt tax lawyers(who Costello named) much like....either his relative or

current or former wife Defendant Segneri, who continues to foist fraud upon State Court to cover-up

Costello’s crimes, rather than cooperate with this Court’s clear jurisdiction;

THESE Defendants deserve to be taught a lesson NOW for their heinous documented crimes, punished
financially, and then punished via Federal prosecution, because Defendant Kim Foxx will not prosecute

them......because according to Costello, Foxx’s subordinates are their accomplices and accessories.

ll. Therefore, Plaintiff urges this Court to set this matter for hearing on damages at the

earliest practicable time of this Court’s calendar.

WHEREFORE, the Plaintiff, James Garner, respectfully requests that this Honorable Court to
grant “Plaintiffs Motion For Default Judgment By The Court With Regard To Defendants Iris Y.
Martinez, Pinal Patel, Rose Bishop, And Tamara For Failure To Answer Or Otherwise Plead”, and any

other relief that this Honorable Court deems Warranted.

Respectfully Submitted,
By

Pro Se Plaintiff
JAMES GARNER
Plaintiff; P.O. Box 4360; Chicago, Illinois 60680 ;
BusinessConsult1@yahoo.com

Page: 4 of 4
Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 5 of 14 PagelD #:354

Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 9 of 18 PagelD #:136

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AO 440 (Rev. 06/12) Suramons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Northern District of Illinois

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v. Civil ActionNo. 22 CY CLS 2?o

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Defendant(s) )

SUMMONS IN A CIVIL ACTION
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Within 2} days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule !2 of
the Federa) Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

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P.0. Bok 4360

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If you fail to respond, Judgment by default will be entered sate you for the reliof demanded in the complaint.
You also must file your answer or motion with the court.

THOMAS G. BRUTON, CLERK

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— ” November 14, 2022
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DATE
Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 6 of 14 PagelD #:355

Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 10 of 18 PagelD #:137

AO 440 (Rev. 06/12) Summons to s Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual andtile, ifany) Iris Y, Martinez
was received by me on (date) Nov. 16,2022

(3 I personally served the summons on the individual at (place)
On (date) > or

(3 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

OM (date) , and mailed a copy to the individual's last known address; or
{ 1 served the summons on (name of individual) sttorney Tiffany Broeks » Who is
designated by law to accept service of process. on behalf of (name of organtoation)

Daley Center - #1001 On (date) Nev, 16,2022 :0%
(3 | returned the summons unexecuted because ; or
C3 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

1 declare under penalty of perjury that this information is true.

Date: Nov. LB 222 Lt fipall -

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Additional information Tegarding attempted service, etc:
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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 7 of 14 PagelD #:356
Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 11 of 18 PagelD #:138

AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT
for the

Northem District of Hlinois

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JAMES ARWER )
Plainttffis) )
v. Civil Action No. 22 Cyl 62 DO
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Tonal (CesTELLO, BE Al. )
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Dafendant's name and address)

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States ora United Stites agency, or a officer or employee of the United Stutes described in Fed. R. Civ.
P. 12 (a){2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,
whose name and address are:

JAnES GAknef
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If you fail to respond, Judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

THOMAS G. BRUTON, CLERK

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November 14, 2022
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(By) DEPUTY CLERK DATE

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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 8 of 14 PagelD #:357

Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 12 of 18 PagelD #:139

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)
This summons for (name of individual and tle. ifany) Pinal

was received by me on {date) Nov, 14,2022

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(3 I personalty served the summons on the individual at (place)
On (date) 5 or
(3 I left the summons af the indfvidual’s residence or usual place of abode with (name)
, 8 person of suitable age and discretion who resides there,
Om (date) , and mailed 2 copy to the individual's lest known address; or
Xf 1 served the summons on (name of individual) attorney Tiffany Broeks » who is
designated by law to accept service of process on behalf of (name of angant-ution)
Dalev Center - #1001 on (date) Ney. 16,2022 + F
(3 1 returned the summons unexecuted because ; Or
3 Other (specify):
My fees are $ for travel and $

for services, for a total of $
1 declare under penalty of perjury that this information is true.

Date: tous 2022
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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 9 of 14 PagelD #:358

Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 13 of 18 PagelD #:140

AQ 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northem District of Hlinois

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Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendam’s name and address)

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A lawsuit has bcen filed against you.

Within 2! days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the aitached complaint or a motion under Rule !2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,
whose name and address are:

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P.0. Bok 4360

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

THOMAS G. BRUTON, CLERK

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November 14, 2022
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(By) DEPUTY CLERK DATE

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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 10 of 14 PagelD #:359
Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 14 of 18 PagelD #:141
AO 440 (Rev. 06/12) Summons ip s Civil Action (Page 2)

SP
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ()

This summons for (name of individual and tide. fany) Rose Bishop
was received by me on date) wey, 16,2022 :

© 1 personally served the summons on the individual at (place)
On (date) 3 Or

(1 J left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

Om (date) , and mailed a copy to the individual's lest known address; or
33 I served the summons on (mame of individual) Atterney Tiffany Brooks , who is
designated by law to accept service of process on behalf of (aume of angantation)

Daley Center - #1001 on (date) Nev. 16,2022 +f
{3 | returned the summons unexecuted because 3; or
C3 Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00

] declare under penalty of perjury that this information is true.

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Additional information regarding attempted service, etc:

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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 11 of 14 PagelD #:360

Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 15 of 18 PagelD #:142

AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT
for the

Norther District of Hlinois

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Plaintiffs)
v. Civil ActionNo. Z 2 eal SEZ MO
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Defendant(s} )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address)
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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

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If you fall to respond, judgment by default will be entered agaiast you fac the relief demanded in the complaint.
You also must file your answer or motion with the court.

THOMAS G. BRUTON, CLERK

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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 12 of 14 PagelD #:361

Case: 1:22-cv-06270 Document #: 12 Filed: 11/19/22 Page 16 of 18 PagelD #:143

AO 440 (Rev. 06/12) Sunmnons in a Crvil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4)

This summons for (name of individual anditle.fary) Tam
was received by me on (date) NOV. 16,2022

{9 I personally served the summons on the individual at (plane)
On (date) 3 or

(3 I left the summons at the indfvidua!l’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual's last known address; or
{2 I served the summons on (name of individual) Atterney Tiffany Breeks » who is
designated by law to accept service of proceas on behalf of (mame of organt-ution)

Daley Center - #1001 on (dete) Ney, 15,2022 °F
(3 J returned the summons unexecuted because 5 or
C3 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 :

1 declare under penalty of perjury that this information is true.

Date: Nov. AZ 2122 ee’ ”

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Activity in Case 1:22-cv-06270 Garner v. Kidd et al summons returne... https://mail.yahoo.com/b/folders/1/messages/AFvqymVXkd-bY31
oc EXHIBIT

Activity in Case 1:22-cv-06270 Garner v. Kidd et al summons retumed executed 2 sinessconsult.../Inbox
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one free electronic copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later
charges, download a copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not apply.
United States District Court
Northem District of Illinois - CM/ECF NextGen 1.6.3
Notice of Electronic Filing

The following transaction was entered on 11/22/2022 at 3:46 PM CST and filed on 11/19/2022

Case Name: Gamer v. Kidd et al
Case Number. 1:22-cv 06270
Filer: James Garner
Document Number: |2

Docket Text:

SUMMONS Returned Executed by James Gamer as to Rose Bishop on 11/16/2022, answer due 12/7/2022; Timothy C. Evans on
11/16/2022, answer due 12/7/2022; Laura A. Henry Kelly on 11/16/2022, answer due 12/7/2022; Steven Kidd on 11/16/2022, answer
due 12/7/2022; Iris Y. Martinez on 11/16/2022, answer due 12/7/2022; Pinal Patel on 11/16/2022, answer due 12/7/2022; George
Scully on 11/16/2022, answer due 12/7/2022; Tamara on 11/16/2022, answer due 12/7/2022; Kelly Wright on 11/16/2022, answer due
12/7/2022. (cxr, )

1:22-cv-06270 Notice has been electronically mailed to:
James Garner _ businessconsult1@yahoo.com

1:22-cv-06270 Notice has been delivered by other means to:

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID= 1040059490 [Date=11/22/2022) [FileNumber=25441293
0] [618ce2dd06Sb60a3a34ae0e0eb9eb1 6820665eacca6c17¢3c4c7bf9a37695948F

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Case: 1:22-cv-06270 Document #: 47 Filed: 12/22/22 Page 14 of 14 PagelD #:363

IN THE UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JAMES GARNER, )
) No. 22 CV 06270
Plaintiff, )
Vv. ) Honorable Franklin U. Valderrama
) U.S. District Judge
STEVEN KIDD, )
THOMAS COSTELLO, et al., ) Susan E. Cox
Defendants, ) Magistrate Judge
NOTICE OF PLA : TION FOR DEFAULT JUDGMENT BY THE COURT WITH
REGA DEFENDANTS SHERIFF BADGE- H FB E-#50104824, AND
EORGE J. VOURN FAILURE TO ANSWER OR OTHERWISE PLEAD

NOW COMES the Plaintiff, JAMES GARNER, hereby rendering above aforementioned
“Plaintiff s Motion For Default Judgment By The Court With Regard To Defendants Iris Y. Martinez,
Pinal Patel, Rose Bishop, And Tamara For Failure To Answer Or Otherwise Plead", by Emailing a copy
of this pleading to the following Defendant and or Attorney and or agent for Defendant(s), pursuant to
this Federal lawsuit(#22cv06270):

SERVICE LIST
L Defendant Pinal Patel

50 W. Washington St. #1001 & #1202,

Chicago, Illinois 60602

PzPatel@cookcountycourt.com

Respectfully Submitted,

By: ee mz.
Pro Se Plaintiff

JAMES GARNER

Plaintiff; P.O. Box 4360;
Chicago, Illinois 60680 ;
BusinessConsult1@yahoo.com

Page: 1 of 1
